Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 1 of 78 PageID# 38705




                          Exhibit A
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 2 of 78 PageID# 38706
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 1 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 3 of 78 PageID# 38707
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 2 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 4 of 78 PageID# 38708
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 3 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 5 of 78 PageID# 38709
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 4 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 6 of 78 PageID# 38710
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 5 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 7 of 78 PageID# 38711
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 6 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 8 of 78 PageID# 38712
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 7 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 9 of 78 PageID# 38713
           Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 8 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 10 of 78 PageID#
        Case 1:15-cv-00950-TDC Document
                                   38714480 Filed 04/18/22 Page 9 of 77
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 11 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 10 of 77
                                    38715
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 12 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 11 of 77
                                    38716
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 13 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 12 of 77
                                    38717
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 14 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 13 of 77
                                    38718
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 15 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 14 of 77
                                    38719
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 16 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 15 of 77
                                    38720
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 17 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 16 of 77
                                    38721
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 18 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 17 of 77
                                    38722
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 19 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 18 of 77
                                    38723
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 20 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 19 of 77
                                    38724
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 21 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 20 of 77
                                    38725
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 22 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 21 of 77
                                    38726
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 23 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 22 of 77
                                    38727
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 24 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 23 of 77
                                    38728
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 25 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 24 of 77
                                    38729
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 26 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 25 of 77
                                    38730
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 27 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 26 of 77
                                    38731
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 28 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 27 of 77
                                    38732
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 29 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 28 of 77
                                    38733
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 30 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 29 of 77
                                    38734
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 31 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 30 of 77
                                    38735
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 32 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 31 of 77
                                    38736
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 33 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 32 of 77
                                    38737
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 34 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 33 of 77
                                    38738
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 35 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 34 of 77
                                    38739
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 36 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 35 of 77
                                    38740
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 37 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 36 of 77
                                    38741
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 38 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 37 of 77
                                    38742
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 39 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 38 of 77
                                    38743
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 40 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 39 of 77
                                    38744
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 41 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 40 of 77
                                    38745
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 42 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 41 of 77
                                    38746
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 43 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 42 of 77
                                    38747
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 44 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 43 of 77
                                    38748
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 45 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 44 of 77
                                    38749
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 46 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 45 of 77
                                    38750
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 47 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 46 of 77
                                    38751
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 48 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 47 of 77
                                    38752
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 49 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 48 of 77
                                    38753
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 50 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 49 of 77
                                    38754
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 51 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 50 of 77
                                    38755
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 52 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 51 of 77
                                    38756
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 53 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 52 of 77
                                    38757
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 54 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 53 of 77
                                    38758
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 55 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 54 of 77
                                    38759
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 56 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 55 of 77
                                    38760
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 57 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 56 of 77
                                    38761
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 58 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 57 of 77
                                    38762
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 59 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 58 of 77
                                    38763
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 60 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 59 of 77
                                    38764
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 61 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 60 of 77
                                    38765



 again advised Dr. Mahoney that they should strictly limit knowledge ofthe details of their work.

 Specifically, he stated that "it is imperative that the least possible be known and said about this

 project, for a few words to the wrong person here, or even at home, might wreck it or parts ofit."

 J.R. 400. He further stated that the "four ofus in our project have carefully discussed the matter

 and all feel that we should do all possible to keep knowledge of our project restricted," id., a

 group which Dr. Paul Lombardo, Senior Advisor to the Presidential Commission, believed to

 include Dr. Cutler; Dr. Mahoney; Dr. John Heller, the Chiefofthe PHS Venereal Disease Division,

 who had visited Guatemala; and possibly Dr. Spoto, but not the Johns Hopkins Professors.

 Accordingly, Dr. Cutler advised that he would send his "detailed reports and discussions of our

 work directly to you and not through any other person," and that in complying with the PASB's

 requirement for monthly reports, his team would "continue to send the barest summaries of our

 progress." J.R. 400. Dr. Cutler also noted that "[i]it is unfortunate that we have to work in such

 a guarded, even subterranean way, but it seems to be very necessary." Id In reply to Dr.

 Cutler's proposal to send his detailed reports solely to Dr. Mahoney, Dr. Mahoney stated that

 he was working to "restrict our own conversations and those ofothers bearing upon the matter"

 and stated that he had begun "forwarding all of[Cutler's] reports to Doctor Heller in a way

 which we hope will prevent their being read by unauthorized persons." J.R. 395. Dr. Mahoney

 further stated that he hoped Dr. Cutler "will not hesitate to stop the experimental work in the

 event of there being an undue amount of interest in that phase of the study" as it "would be

 preferable to delay the work than to risk the development of an antagonistic atmosphere." Id

        The secrecy appeared to extend throughout the Guatemala Experiments. On April 19,

 1948, Dr. Arnold wrote to Dr. Cutler that he was "more than a bit ... leary [sic] ofthe experiment

 with the insane people" because "[t]hey can not give consent, do not know what is going on, and


                                                 60
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 62 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 61 of 77
                                    38766
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 63 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 62 of 77
                                    38767
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 64 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 63 of 77
                                    38768



 undertaken an extensive experimental study in human volunteers in Guatemala with results which

 I am not at liberty to quote but which indicate that even under normal conditions of exposure, there

 is striking variability in the attack rate." J.R. 1914. Dr. Moore stated that he was seeking "to enlist

 the interest of competent investigators" to continue to research this issue, and that he had identified

 Dr. C. Phillip Miller, a Professor of Medicine at the University of Chicago, as someone interested

 in such work for whom "it would be desirable ... to have as much first-hand information as

 possible concerning previous studies" on this issue such as the Guatemala Experiments. J.R. 1915.

 He therefore requested that Dr. Miller be appointed as a consultant to the Surgeon General in order

 to allow him to travel to Guatemala for up to two weeks to "familiarize himself with the U.S.

 Public Health Service Project." J.R. 1915. While Plaintiffs correctly note that this statement may

 support the conclusion that certain non-public results of the Guatemala Experiments had been

 shared with Dr. Moore, the conclusion that it also reflects that Dr. Moore was aware of the

 nonconsensual nature of the experiments does not follow, particularly where· Dr. Moore

 specifically described the Guatemala Experiments as using "human volunteers" and referenced

 only results that related to_ "normal conditions of exposure," a term that was elsewhere used to

 refer to transmission through sexual contact. J.R. 1914. Even if this letter could be construed as

 evidence of Dr. Moore's knowledge that the Experiments included nonconsensual human

 medical experiments, it post-dates both the SSS's initial 1946 recommendation of funding

 and 1947 recommendation of renewed funding and thus cannot support a finding that those

 actions were taken with the requisite purpose of facilitating nonconsensual human medical

 experimentation.

         Although Plaintiffs have characterized this letter as showing that Dr.Moore was "push[ing]

 support for the Experiments," Pis.' Mot. Summ. J. at 48, it cannot be fairly characterized as

 substantial assistance to the Guatemala Experiments. In the letter, Dr. Moore's request that Dr.
                                                   63
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 65 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 64 of 77
                                    38769
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 66 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 65 of 77
                                    38770
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 67 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 66 of 77
                                    38771
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 68 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 67 of 77
                                    38772
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 69 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 68 of 77
                                    38773
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 70 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 69 of 77
                                    38774
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 71 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 70 of 77
                                    38775
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 72 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 71 of 77
                                    38776
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 73 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 72 of 77
                                    38777
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 74 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 73 of 77
                                    38778
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 75 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 74 of 77
                                    38779
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 76 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 75 of 77
                                    38780
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 77 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 76 of 77
                                    38781
Case 1:08-cv-00827-LMB-JFA Document 1361-1 Filed 04/20/22 Page 78 of 78 PageID#
        Case 1:15-cv-00950-TDC Document 480 Filed 04/18/22 Page 77 of 77
                                    38782
